      Case3:05-cr-00395-CRB
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 3    Tel: 510-452-8400
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 4
      Attorney for Defendant
 5    WON SEOK YOO
 6
                               IN THE UNITED STATES DISTRICT COURT
 7
                           FOR THE NORTHERN DISTRICT OF CALIFORNIA
 8

 9    UNITED STATES OF AMERICA,           )                 No. CR 05-00395 CRB (EC)
                                          )
10          Plaintiff,                    )                 STIPULATION AND [PROPOSED]
                                          )                 ORDER RE TRAVEL
11    v.                                  )
12                                        )
      YOUNG JOON YANG, et al.             )
13    (Won Seok Yoo)                      )
                                          )
14          Defendants.                   )
      ____________________________________)
15
16            IT IS HEREBY STIPULATED between the parties, with the concurrence of Pretrial

17    Services, that the conditions of release of WON SEOK YOO may be modified to allow him to travel
18
      to Seoul, Korea on April 28, 2006, returning to this district on May 8, 2006, for the purposes of
19
      attending a meeting of the Advisory Council on Democratic and Peaceful Unification. The Clerk of
20
      the Court shall return his passport to him or to his lawyer, Erik Babcock, so that he may travel
21
22    abroad. Upon his return, Mr. Yoo shall return his passport to Clerk of the Court within 48 hours.

23     Mr. Yoo shall provide an itinerary to Pretrial before his departure.
24
              SO STIPULATED:
25
26    DATED: 4-3-2006                                                         /s/
                                                            PETE AXELROD
27
28
      Stipulation and Proposed Travel Order
      United States v. Won Seok Yoo
      Case3:05-cr-00395-CRB
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 1                                                  Assistant U.S. Attorney
 2

 3
 4

 5
 6    DATED:        4-6-2006
                                                    ERIK G. BABCOCK
 7
                                                    Attorney for Defendant
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                                                                     ISTRIC
 9           SO ORDERED.                                        TES D      TC
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      DATED:      April 19, 2006                    _________________________________




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                                                    U.S. MAGISTRATE    JUDGE




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                                                                  Judge E




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      Stipulation and Proposed Travel Order
      United States v. Won Seok Yoo           -2-
      Case3:05-cr-00395-CRB
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 5    Attorney for Defendant
 6    WON SEOK YOO

 7
                               IN THE UNITED STATES DISTRICT COURT
 8

 9                         FOR THE NORTHERN DISTRICT OF CALIFORNIA

10    UNITED STATES OF AMERICA,           )                No. CR 05-00395 CRB (EC)
11                                        )
            Plaintiff,                    )
12
                                          )                SIGNATURE ATTESTATION
13    v.                                  )
14                                        )
      YOUNG JOON YANG, et al.             )
15    (Won Seok Yoo)                      )
16                                        )
            Defendants.                   )
17
      ____________________________________)
18
             I, ERIK G. BABCOCK, hereby attest that I have on file all holograph signatures for any
19
      signatures indicated by a "conformed" signature (/S/) within this efiled document.
20

21    DATED:         April 17, 2006

22

23
24
                                                           ERIK G. BABCOCK
25
26
27
28
      Stipulation and Proposed Travel Order
      United States v. Won Seok Yoo                  -3-
